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                                                 UNITED STATES DISTRICT COURT

                                                    FOR THE DISTRICT OF OREGON

                                                               PORTLAND DIVISION

BONNIE MCGINNIS, as Personal                                                No. 3:21-cv-01189-YY
Representative for the Estate of MICHAEL D.
MCGINNIS,
                                                                            STIPULATED ORDER OF DISMISSAL
                                       Plaintiff,                           WITH PREJUDICE AS TO DEFENDANT
                                                                            MORSE TEC LLC ONLY
                         v.

AKEBONO BRAKE CORPORATION, et al.,

                                       Defendants.


            Plaintiff and Defendant Morse TEC LLC, f/k/a BorgWarner Morse TEC LLC, as

Successor-by-Merger to Borg-Warner Corporation only (“Morse TEC”), stipulate and agree that

the Court shall dismiss the Plaintiff’s claims and causes of action against Morse TEC only, with

prejudice and without costs or fees to any party, reserving to Plaintiff all claims against other

parties.

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Page 1 - STIPULATED ORDER OF DISMISSAL WITH                                                         GILLASPY RHODE FADDIS & BENN LLC
                                                                                                      4380 S Macadam Avenue, Suite 590
PREJUDICE AS TO DEFENDANT MORSE TEC LLC ONLY                                                               Portland, Oregon 97239
                                                                                                                (503) 688-5020
S:\72\McGINNIS\PLD\Stipulated Order of Dismissal of Morse TEC.wpd                                             Fax (425) 462-4995
              Case 3:21-cv-01189-AN                                 Document 152   Filed 02/17/23     Page 2 of 3



DATED this 17th day of February, 2023.

MAUNE RAICHLE HARTLEY FRENCH                                                  GILLASPY RHODE FADDIS & BENN
& MUDD LLC                                                                    LLC


s/Daniel Casey Dineen                                                         s/Annalie M. Faddis
Daniel Casey Dineen, OSB No. 143076                                           Annalie M. Faddis, OSB No. 992834
E-mail: cdineen@mrhfmlaw.com                                                  E-mail: afaddis@gillaspyrhode.com
Of Attorneys for Plaintiff                                                    Of Attorneys for Defendant Morse TEC
                                                                              LLC




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                                                             ORDER OF DISMISSAL

            THIS MATTER having come before the Court by way of Stipulation of Plaintiff and

Defendant Morse TEC to dismiss all claims against Morse TEC only, with prejudice and without

costs or fees as to any party; and the Court being fully advised in the premises, now, therefore,

            IT IS HEREBY ORDERED that all claims against Morse TEC are dismissed with

prejudice and without costs or fees.

                         17th
            DATED this _________         February
                                 day of _________________, 2023.




                                                                         /s/ Youlee Yim You
                                                                    _______________________________________
                                                                    U.S. Magistrate Judge




Presented by:

GILLASPY RHODE FADDIS & BENN LLC
Annalie M. Faddis, OSB No. 992834
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Attorney for Defendant Morse TEC LLC




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